           Case 1:14-vv-00574-UNJ Document 23 Filed 11/21/14 Page 1 of 2




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-574V
                                     Filed: October 15, 2014

****************************
LINDA COTHERN,             *
                           *
               Petitioner, *                                Ruling on Entitlement; Concession;
                           *                                Trivalent Influenza (Flu) Vaccine;
                           *                                Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH        *                                Administration; SIRVA
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                           *
****************************

                                     RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

      On July 7, 2014, Linda Cothern filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleged that she suffered a shoulder injury which
was caused by the influenza vaccine she received on September 26, 2013. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On October 15, 2014, respondent filed her Rule 4(c) report [“Res. Report”] in
which she concedes that petitioner is entitled to compensation in this case. Res. Report
at 3. Specifically, respondent indicates “that petitioner’s alleged injury is consistent with
a shoulder injury related to vaccine administration (“SIRVA”) and that it was caused in
fact by the flu vaccine she received on September 26, 2013.” Id. Respondent agrees
that petitioner’s injury lasted for more than six months and that no other causes for
petitioner’s injury can be identified. Id.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
        Case 1:14-vv-00574-UNJ Document 23 Filed 11/21/14 Page 2 of 2



       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                               s/Denise K. Vowell
                               Denise K. Vowell
                               Chief Special Master




                                        2
